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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                     Case No. 17-cr-20657-3
v.                                                   Hon. Matthew F. Leitman

CAWON LYLES,

     Defendant.
__________________________________________________________________/
          ORDER (1) DENYING DEFENDANT’S MOTION FOR
         RECONSIDERATION (ECF No. 128) BUT (2) ALLOWING
            DEFENDANT TO FILE A RENEWED MOTION
                 FOR COMPASSIONATE RELEASE

      On August 28, 2020, Defendant Cawon Lyles filed a motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (See Mot., ECF No.

119.) On September 14, 2020, the Court directed Lyles to supplement his motion by

providing additional information concerning whether he satisfied the exhaustion

requirement under 18 U.S.C. § 3582(c)(1)(A) and concerning why he qualified for

compassionate release. Lyles did not respond to the Court’s order. Accordingly, on

December 18, 2020, the Court denied his motion without prejudice. (See Order, ECF

No. 126.)

      Lyles has now filed a motion for reconsideration of the Court’s denial of his

motion for compassionate release. (See Mot., ECF No. 128.) In the motion, Lyles

says that he has satisfied the exhaustion requirement. (See id.)

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      Because the Court denied Lyles’ motion without prejudice, it is not persuaded

that it committed an error when it denied that motion. The Court therefore DENIES

Lyles’ motion for reconsideration. However, Lyles is free, at any time, to file a

renewed motion for compassionate release. In such a motion, Lyles shall include

(1) all of the information related to the exhaustion of his request for compassionate

release and (2) all other information that he believes entitles him to compassionate

release.

      IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: January 12, 2021

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 12, 2021, by electronic means and/or
ordinary mail.
                                        s/Holly A. Monda
                                        Case Manager
                                        (810) 341-9764




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